 Case 3:22-cr-01152-BAS Document 19 Filed 08/09/22 PageID.179 Page 1 of 4



 1 RANDY S. GROSSMAN
   United States Attorney
 2 NICHOLAS W. PILCHAK
   California Bar No. 331711
 3 ERIC R. OLAH
   California State Bar No. 295513
 4 MEGHAN E. HEESCH
   Minnesota State Bar No. 0395912
 5 Assistant U.S. Attorneys
   Federal Office Building
 6 880 Front Street, Room 6293
   San Diego, California 92101-8893
 7 Telephone: (619) 546-9709
   E-mail: Nicholas.Pilchak@usdoj.gov
 8
   Attorneys for Plaintiff
 9 United States of America
10                        UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                     Case No. 22-CR-1152-BAS
13                       Plaintiff,                 NOTICE OF LIS PENDENS
                                                    FOR PROPERTY LOCATED
14          v.                                      AT 4760 RANCHO DEL MAR
                                                    TRAIL, SAN DIEGO,
15    KARIM ARABI (1),                              CALIFORNIA
      SHEIDA ALAN (2),
16         aka Sheida Arabi,
      SANJIV TANEJA (3), and
17    ALI AKBAR SHOKOUHI (4),
18                       Defendants.
19
20         OWNER OF RECORD:                ALI AKBAR SHOKOUHI
21         PLEASE TAKE NOTICE that the indictment has been returned in the United
22 States District Court for the Southern District of California against Defendant ALI
23 AKBAR SHOKOUHI, which indictment and bill of particulars also seek the forfeiture
24 of Defendant Ali Akbar Shokouhi’s right, title to, and interest in that real property
25 located at 4760 Rancho Del Mar Trail, San Diego, California, and all appurtenances
26 affixed thereto. The real property is more particularly described as:
27
28
 Case 3:22-cr-01152-BAS Document 19 Filed 08/09/22 PageID.180 Page 2 of 4



                        ASSESSORS PARCEL NO. 304-630-04-00
 1
           PARCEL 1:
 2
           LOT 4 OF DEL MAR HIGHLANDS ESTATES, IN THE CITY OF SAN
 3         DIEGO, COUNTY OF SAN DIEGO, STATE OF CALIFORNIA,
           ACCORDING TO MAP THEREOF NO. 13818, FILED IN THE
 4         OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY,
           JULY 2, 1999.
 5
           PARCEL 2:
 6
           A NON-EXCLUSIVE EASEMENT FOR INGRESS AND EGRESS
 7         OVER THE PRIVATE DRIVES, STREET AND COMMON AREA OF
           THE ABOVE-REFERENCED TRACT MAP, AS PROVIDED FOR IN
 8         AND SUBJECT TO THAT CERTAIN AMENDED AND RELATED
           DECLARATION    OF   COVENANTS,     CONDITIONS  AND
 9         RESTRICTIONS AND GRANT OF EASEMENTS FOR RANCHO
           PACIFICA   HOMEOWNERS       ASSOCIATION   RECORDED
10         FEBRUARY 11, 2000 AS INSTRUMENT NO. 00-73953 OF
           OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY
11         RECORDER OF SAN DIEGO COUNTY, CALIFORNIA.
12         Upon conviction, Defendant ALI AKBAR SHOKOUHI will be ordered to
13 forfeit to the United States the real property located at 4760 Rancho Del Mar Trail, San
14 Diego, California 92130-5210, APN 304-630-04-00, in that said property is proceeds
15 of and was used to facilitate the commission of violations of Title 18, United States
16 Code, Section 1343, 1956(h), and 1957, thereby subjecting it to forfeiture to the United
17 States pursuant to Title 18, United States Code, Sections 981 (a)(1)(c), 982 (a)(1), and
18 982 (b) and Title 28, United States Code, Section 2461(c).
19         The owner of record of the above-described property is Ali Akbar Shokouhi.
20
21
22
23
24
25
26
27
28
                                         -2-                      22cr1152-BAS
 Case 3:22-cr-01152-BAS Document 19 Filed 08/09/22 PageID.181 Page 3 of 4




 1         BE ADVISED THAT upon the entry of an Order of Criminal Forfeiture in favor
 2 of the United States, all right, title and interest of Ali Akbar Shokouhi in said property
 3 shall vest in the United States back to the date of the commission of the acts giving rise
 4 to the forfeiture.
 5         DATED: August 9, 2022.
 6                                          RANDY S. GROSSMAN
                                            United States Attorney
 7
 8
                                            NICHOLAS W. PILCHAK
 9                                          Assistant United States Attorney
                                            Attorneys for Plaintiff
10                                          United States of America
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          -3-                       22cr1152-BAS
 Case 3:22-cr-01152-BAS Document 19 Filed 08/09/22 PageID.182 Page 4 of 4




 1                           UNITED STATES DISTRICT COURT
 2                         SOUTHERN DISTRICT OF CALIFORNIA
 3    UNITED STATES OF AMERICA,                       Case No. 22-CR-1152-BAS
 4                          Plaintiff,                CERTIFICATE OF SERVICE
 5              v.
 6    ALI AKBAR SHOKOUHI (4),
 7                          Defendant.
 8
 9         IT IS HEREBY CERTIFIED that:
10         I, Nicholas W. Pilchak, am a citizen of the United States over the age of 18 years
11 and a resident of San Diego County, CA; my business address is 880 Front Street, San
12 Diego, CA 92101-8893; I am not a party to the above-entitled action.
13         I hereby certify that I have caused to be mailed the foregoing, by the
14 United States Postal Service, certified mail, to the following non-ECF participants in
15 this case, or to their legal counsel:
16         1.        Ali Akbar Shokouhi
                     4760 Rancho Del Mar Trail,
17                   San Diego, CA 92113
18 the last known address, at which place there is delivery service of mail from the United
19 States Postal Service.
20         I declare under penalty of perjury that the foregoing is true and correct.
21
22 DATED: August 9, 2022.
23                                                 NICHOLAS W. PILCHAK
                                                   Assistant United States Attorney
24                                                 Attorney for Plaintiff
25
26
27
28
                                           -6-                      22cr1152-BAS
